    Case 19-23410-SLM Doc 83-1 Filed 06/15/20 Entered 06/15/20 11:24:32 Desc
         TMG/TMO RECONVERT/DISMISS - PROPOSED ORDER Page 1 of 2

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg, MAG-1284
Marie-Ann Greenberg, Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550
973-227-2840                                           Chapter 13 Case No.: 19-23410
Chapter 13 Standing Trustee

IN RE:                                                 HEARING DATE: 07/22/2020

   ANTHONY P BIASI                                     Judge: STACEY L. MEISEL



                              ORDER DISMISSING PETITION


  The relief set forth on the following page, numbered two (2), is hereby ORDERED.




                                              1
     Case 19-23410-SLM Doc 83-1 Filed 06/15/20 Entered 06/15/20 11:24:32 Desc
            TMG/TMO RECONVERT/DISMISS - PROPOSED ORDER Page 2 of 2
Debtor(s): ANTHONY P BIASI


Case No.: 19-23410

Caption of Order:     ORDER DISMISSING PETITION

        THIS MATTER having come before the Court on the Chapter 13 Standing Trustee’s Motion to

Dismiss on 07/22/2020, and the Court having been satisfied that proper service and notice was

effectuated on the Debtor(s) and Debtor(s)’ counsel, and the Court having considered the Chapter 13

Standing Trustee’s report, and good and sufficient cause appearing therefrom for the entry of this Order,

it is

        ORDERED AND DIRECTED, that the Debtor(s) Voluntary Petition for Relief under Chapter 13

and all proceedings thereunder are hereby dismissed without prejudice.



        Pursuant to 11 U.S.C. Sec. 349(b) this Court, for cause, retains jurisdiction over any additional

application filed within 30 days by any administrative claimants for funds on hand with the Chapter 13

Trustee.



    ORDERED, that upon case dismissal any funds held by the Chapter 13 Standing Trustee from

payments made on account of Debtor(s)' Plan, shall be disbursed to the Debtor(s), less any applicable

Trustee fees and commisions, except any adequate protection payments due under the proposed plan or

by Court Order, and/or any counsel fees and costs hereby allowed as an Administrative Expense.




                                                     2
